Case 2:07-md-01873-KDE-MBN Document 17108 Filed 10/15/10 Page 1 of 3

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
NEW ORLEANS DIVISION

IN RE: FEMA TRAILER
FORMALDEHYDE PRODUCTS
LIABILITY LITIGATION

THIS DOCUMENT PERTAINS TO

Civil Action No. 09-7831

Cheryl Treaudo, as Next Friend of C.T, a
minor, et. al.

Vs.

Gulf Stream Coach, Inc., et al.

MDL NO. 1873

SECTION “N” (5)

JUDGE ENGELHARDT
MAGISTRATE CHASEZ

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SUPPLEMENTAL EXHIBIT “A” TO PLAINTIFFS’ AMENDED COMPLAINT
PURSUANT TO PRETRIAL ORDER NO. 33

In compliance with Pretrial Order 53 (Rec. Doc. 9073), Plaintiffs hereby file their
Supplemental Exhibit “A” to their Amended Complaint to match the Plaintiffs to their correct
Contractor/Installer Defendants.

In addition to the information previously submitted on Exhibit “A”, Plaintiffs attach
hereto a Supplemental Exhibit “A” and incorporate same by reference herein.

Respectfully submitted,

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Case 2:07-md-01873-KDE-MBN Document 17108 Filed 10/15/10 Page 2 of 3

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Exhibit A

Ashley Zimmerman, as Next Friend of L.Z, a minor
(210698)

Chemekia Washington (216070)

133

Bechtel National, Inc

Randy Walters (215234) Bechtel National, Inc

Stephanie Washington (216074)

